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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA

              v.                                   Case No. 1:19-cr-0125 (ABJ)

GREGORY B. CRAIG,

                   Defendant.


                                           NOTICE

       Defendant hereby gives notice, following consultation with his undersigned counsel, that

he will not be moving for the Court to take any action regarding the matters that were discussed

during the status conference on July 16, 2019.
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Dated: July 18, 2019                       Respectfully submitted,


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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on July 18, 2019, the foregoing was served on counsel of

record via the Court’s CM/ECF service.


                                                 /s/ Ezra B. Marcus
                                              Ezra B. Marcus
